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         Exhibit Balance Sheet Income Statement Bank Statement Page 1 of 4

Balance Sheet Summary - 2/28/2025          PUBCO
                                            Amt
Cash or Cash Equivalent                          65,569
Prepaid Expenses and Other                       32,829
Current Assets                                   98,398


LTI DAI USHOLDCO INC                                 50
LTI IN CANNABIS INC                                 100
Long Term Investments                               150


Assets                                           98,548



Trade and Other Payables                        335,300
Current Liabilities                             335,300


Liabilities                                     335,300



Subordinate Voting Shares                     9,007,750
Capital Contribution                          (9,634,158)
Capital                                        (626,408)


Accum Comprehensive Income                      (12,462)
Accum Retained Earnings PY                    (7,910,737)
Adjustments to Ret Earnings                   2,426,668
Adjustments to Ret Earnings (Interco)         5,886,914
Net Profit                                         (728)
                                                389,655


Equity                                         (236,753)


Liabilities & Equity                             98,548
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Income Statement - 2/28/2025            PUBCO
                                         Amt
Revenues, Net                                    -


General & Administrative Exp                    363


Expenses                                        363


Operating Profit                                (363)


Other Revenues and Expenses                      -


Net Profit / (Losses)                           (363)
Case 1:24-bk-11323-VK Doc 454-1 Filed 03/21/25 Entered 03/21/25 17:11:36 Desc
       Exhibit Balance Sheet Income Statement Bank Statement PageDirect
                                                                   3 of 4inquiries to:
                                                                                                        888 895-5650
  135 N. Los Robles Ave., 6TH FL.
  Pasadena, CA 91101
                                                                                              ACCOUNT STATEMENT
                                                                                                      Page     1    of      1
                                                                          STARTING DATE: February 01, 2025
                                                                               ENDING DATE: February 28, 2025
                                                                               Total days in statement period: 28
                                                                                                                     4072
                                                                                                                    ( 0)


                                                                                Stay alert for financial scams. If you
           IRWIN NATURALS, INC                                                  receive an email, text, or call from
           CHAPTER 11 DEBTOR IN POSSESSION                                      someone unknown about receiving or
           CASE #24-11323                                                       sending money for inheritance, charities,
           300 CORPORATE POINTE WALK SUITE 550                                  or anything similar, do not respond or
           CULVER CITY CA 90230                                                 share your personal information.




Commercial Analysis Checking


Account number                             4072                  Beginning balance                           $54,884.80
Low balance                         $54,884.80                   Total additions              ( 2)            41,756.48
Average balance                     $64,578.27                   Total subtractions           ( 2)            41,756.48
                                                                 Ending balance                              $54,884.80




CREDITS
Number            Date        Transaction Description                                                  Additions
                  02-04
                                                                                                     20,878.24
                  02-18
                                                                                                     20,878.24




DEBITS
Date      Transaction Description                                                                    Subtractions
02-07    Bbp Usd Intl WI                                                                             20,878.24
02-28    Bbp Usd Intl WI                                                                             20,878.24




DAILY BALANCES
Date            Amount                   Date           Amount                     Date                Amount
01-31              54,884.80             02-07            54,884.80                02-28                  54,884.80
02-04              75,763.04             02-18            75,763.04




        OVERDRAFT/RETURN ITEM FEES


                                                                 Total for                      Total
                                                                 this period               year-to-date


                  Total Overdraft Fees                               $0.00                            $0.00


                  Total Returned Item Fees                           $0.00                            $0.00
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